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                                   3                               UNITED STATES DISTRICT COURT

                                   4                           NORTHERN DISTRICT OF CALIFORNIA

                                   5                                     SAN JOSE DIVISION

                                   6

                                   7     TEVA PHARMACEUTICALS USA, INC.,            Case No. 24-cv-03567-BLF
                                   8                  Plaintiff,
                                                                                    ORDER CONTINUING FEBRUARY 20,
                                   9            v.                                  2025, CASE MANAGEMENT
                                                                                    CONFERENCE TO MARCH 6, 2025
                                  10     CORCEPT THERAPEUTICS, INC., et al.,
                                  11                  Defendants.

                                  12
Northern District of California
 United States District Court




                                  13         The Case Management Conference currently scheduled on February 20, 2025, is

                                  14   CONTINUED to March 6, 2025.

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                                  16         IT IS SO ORDERED.

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                                  18   Dated: February 14, 2025

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                                                                                BETH LABSON FREEMAN
                                  20                                            United States District Judge
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